  Case 3:16-cr-00747-CCC   Document 47    Filed 07/11/17   Page 1 of 2




               IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA
Plaintiff                                  CRIMINAL 16-0747-01CCC
vs
1) ORLANDO LUIS PUIG-ROJAS
Defendant


                                  ORDER

     Having considered the Report and Recommendation filed on June 23,
2017 (d.e. 46) on a Rule 11 proceeding of defendant [1] Orlando Puig-Rojas
before U.S. Magistrate-Judge Marcos E. López on June 13, 2017, to which no
objection has been filed, the same is APPROVED. Accordingly, the plea of
guilty of defendant is accepted. The Court FINDS that his plea was voluntary
and intelligently entered with awareness of his rights and the consequences of
pleading guilty and contains all elements of the offense charged in the
indictment.
     This case was referred to the U.S. Probation Office for preparation of a
Presentence Investigation Report since June 13, 2017. The sentencing
hearing is set for SEPTEMBER 12, 2017 at 4:30 PM.
     The U.S. Probation Officer is reminded that, should any objections be
raised by defendant to the PreSentence Report, the Addendum to said
PreSentence Report must specifically identify any unresolved objections, the
grounds for the objections, and the U.S. Probation Officer’s comments on
them, as required by Fed. R. Crim. P. 32(g). The party that raised the
  Case 3:16-cr-00747-CCC    Document 47     Filed 07/11/17   Page 2 of 2




CRIMINAL 16-0747-01CCC                  2

unresolved objections shall, within twenty-four (24) hours after the
Addendum is disclosed, state in writing whether it will insist that the unresolved
objections be ruled upon by the Court. Failure to do so will be deemed by the
Court as a withdrawal of the unresolved objections.
      SO ORDERED.
      At San Juan, Puerto Rico, on July 11, 2017.



                                     S/CARMEN CONSUELO CEREZO
                                     United States District Judge
